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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                      )
UNITED STATES OF AMERICA                              )
                                                      )
          vs.                                         )   Criminal No. 15-151
MURTAZA SAIFUDDIN,                                    )
                                                      )
                       Defendant.                     )

                                                 ORDER


                AND NOW, this 22ND day of August, 2016, it appearing that further proceeding cannot be

held in this as to defendant Saifuddin because the defendant is a fugitive and a warrant of arrest has been

issued,

                IT IS HEREBY ORDERED that the case be returned to the Clerk of Court as to defendant

Saifuddin until such time as action by the Court may be required against said defendant.




                                                      s/Arthur J. Schwab
                                                      United States District Judge


ecf:            Charles A. Eberle, Asst. U.S. Atty.

                United States Marshal’s Office
